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             United States Court of Appeals
                     FOR THE DISTRICT OF COLUMBIA CIRCUIT



            Argued February 8, 2022              Decided August 12, 2022

                                     No. 21-5166

                      LOPER BRIGHT ENTERPRISES, INC., ET AL.,
                                  APPELLANTS

                            CAPE TRAWLERS, INC., ET AL.,
                                    APPELLEES

                                          v.

             GINA RAIMONDO, IN HER OFFICIAL CAPACITY AS SECRETARY
                             OF COMMERCE, ET AL.,
                                  APPELLEES


                     Appeal from the United States District Court
                             for the District of Columbia
                                 (No. 1:20-cv-00466)



                 Eric R. Bolinder argued the cause for appellants. With him
            on the briefs was Ryan P. Mulvey.

                Daniel Halainen, Attorney, U.S. Department of Justice,
            argued the cause for appellees. With him on the brief were
            Todd Kim, Assistant Attorney General, and Rachel Heron,
            Attorney.
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                Before: SRINIVASAN*, Chief Judge, ROGERS and WALKER,
            Circuit Judges.

                Opinion for the Court by Circuit Judge ROGERS.

                Dissenting opinion by Circuit Judge WALKER.

                  ROGERS, Circuit Judge: In implementing an Omnibus
            Amendment that establishes industry-funded monitoring
            programs in New England fishery management plans, the
            National Marine Fisheries Service promulgated a rule that
            required industry to fund at-sea monitoring programs. A group
            of commercial herring fishing companies contend that the
            statute does not specify that industry may be required to bear
            such costs and that the process by which the Service approved
            the Omnibus Amendment and promulgated the Final Rule was
            improper. We affirm the district court’s grant of summary
            judgment to the Service based on its reasonable interpretation
            of its authority and its adoption of the Amendment and the Rule
            through a process that afforded the requisite notice and
            opportunity to comment.

                                            I.

                 The Magnuson-Stevens Fishery Conservation and
            Management Act of 1976 (the “Act”), 16 U.S.C. §§ 1801–
            1884, in furtherance of its goal “to conserve and manage the
            fishery resources . . . of the United States,” 16 U.S.C.
            § 1801(b)(1), authorizes the Secretary of Commerce, and the
            National Marine Fisheries Service (“the Service”) as the
            Secretary’s delegee, to implement a comprehensive fishery
            management program, id. § 1801(a)(6); see id. §§ 1854,

            *
                  Chief Judge Srinivasan was drawn to replace Judge Jackson,
            now Justice Jackson, who heard argument and did not participate in
            this opinion.
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            1855(d). Key to the statutory scheme is the promulgation and
            enforcement of “fishery management plans.” Plans and
            periodic amendments are developed by regional fishery
            management councils, id. § 1852(h)(1), and include measures
            “necessary and appropriate for the conservation and
            management of the fishery,” id. § 1853(a)(1)(A). The proposing
            council may include specific conservation and management
            measures enumerated in 16 U.S.C. § 1853(b), as well as any
            other measures “determined to be necessary and appropriate,”
            id. § 1853(b)(14). In addition, the council may propose
            implementing regulations. Id. § 1853(c).

                 Nine fisheries, including the Atlantic herring fishery, are
            managed by the New England Fishery Management Council
            (the “Council”). Id. § 1852(a)(1)(A), (h)(1). The Council
            submitted the Omnibus Amendment to the Service, which
            published a notice of availability and subsequently opened a
            comment period. Notice of Availability, 83 Fed. Reg. 47,326
            (Sept. 19, 2018); Notice of Proposed Rulemaking (“NPRM”),
            83 Fed. Reg. 55,665 (Nov. 7, 2018). The Service approved the
            Omnibus Amendment on December 18, 2018, and published
            the Final Rule on February 7, 2020.1 The Amendment and the
            Rule set out a standardized process to implement and revise
            industry-funded monitoring programs in the New England
            fisheries. Omnibus Amendment at v; Final Rule, 85 Fed. Reg.
            at 7,414–17. Plan coverage requirements may be waived if
            monitoring is unavailable or certain exemptions based on use
            of monitoring equipment or catch size apply. See Final Rule,
            85 Fed. Reg. at 7,417, 7,419–20.

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                 Industry-Funded Monitoring: An Omnibus Amendment to the
            Fishery Management Plans of the New England Fishery Management
            Council (2018) (“Omnibus Amendment”); Magnuson-Stevens
            Fishery Conservation and Management Act Provisions; Fisheries of
            the Northeastern United States; Industry-Funded Monitoring Final
            Rule, 85 Fed. Reg. 7,414 (Feb. 7, 2020) (“Final Rule”).
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                 The monitoring program for the Atlantic herring fishery
            covers 50 percent of herring trips. The 50-percent coverage
            target is met through a combination of limited Service-funded
            monitoring pursuant to the fishery management plan, see 16
            U.S.C. § 1853(a)(11), and, for the difference between the target
            and Service-funded monitoring, industry-funded monitoring,
            with owners of vessels selected by the Service to carry an
            industry-funded monitor and pay the associated costs (other
            than administrative costs). Final Rule, 85 Fed. Reg. at 7,417.
            The Service estimated industry costs to the herring fishery “at
            $710 per day,” which in the aggregate could reduce annual
            returns by “approximately 20 percent.” Id. at 7,418.

                 Appellants are commercial fishermen who regularly
            participate in the Atlantic herring fishery. They filed a lawsuit
            alleging, as relevant, that the Act did not authorize the Service
            to create industry-funded monitoring requirements and that the
            rulemaking process was procedurally irregular. The district
            court ruled on the parties’ cross-motions for summary
            judgment in the government’s favor. Loper Bright Enters., Inc.
            v. Raimondo, 544 F. Supp. 3d 82, 127 (D.D.C. 2021).

                                           II.

                  On appeal, appellants’ challenge to the Final Rule presents
            the question how clearly Congress must state an agency’s
            authority to adopt a course of action. This court is aware of the
            Supreme Court precedent that Congress must clearly indicate
            its intention to delegate authority to take action that will have
            major and far-reaching economic consequences. Util. Air Regul.
            Grp. v. EPA, 573 U.S. 302, 323–24 (2014). But that “major
            questions doctrine” applies only in those “‘extraordinary cases’
            in which the ‘history and breadth of the authority that [the
            agency] has asserted,’ and the ‘economic and political
            significance’ of that assertion, provide a ‘reason to hesitate
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            before concluding that Congress’ meant to confer such
            authority.” West Virginia v. EPA, 142 S. Ct. 2587, 2595 (2022)
            (alteration in original) (quoting FDA v. Brown & Williamson
            Tobacco Corp., 529 U.S. 120, 159–60 (2000)). Here, the
            Service’s challenged actions are distinct. Congress has
            delegated broad authority to an agency with expertise and
            experience within a specific industry, and the agency action is
            so confined, claiming no broader power to regulate the national
            economy. The court’s review thus is limited to the familiar
            questions of whether Congress has spoken clearly, and if not,
            whether the implementing agency’s interpretation is
            reasonable. See Chevron U.S.A., Inc. v. Nat. Res. Def. Council,
            467 U.S. 837, 842–43 (1984). Although the Act may not
            unambiguously resolve whether the Service can require
            industry-funded monitoring, the Service’s interpretation of the
            Act as allowing it to do so is reasonable.

                                            A.

                 Appellants contend the Act permits the Service to require
            at-sea monitors but prohibits any industry-funded monitoring
            programs beyond three circumstances. The Service responds
            that the Act unambiguously authorizes it to implement
            industry-funded monitoring requirements. The court applies
            the familiar two-step Chevron framework. See, e.g., Cigar
            Ass’n of Am. v. FDA, 5 F.4th 68, 77 (D.C. Cir. 2021) (citing
            Chevron, 467 U.S. at 842–43). At Chevron Step One, the
            court, “employing traditional tools of statutory interpretation,”
            evaluates “whether Congress has directly spoken to the precise
            question at issue.” Chevron, 467 U.S. at 842–43 & n.9. “If the
            intent of Congress is clear, that is the end of the matter; for the
            court, as well as the agency, must give effect to the
            unambiguously expressed intent of Congress.” Id. at 842–43.
            If the statute considered as a whole is ambiguous, then at
            Chevron Step Two the court defers to any “permissible
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            construction of the statute” adopted by the agency. Cigar Ass’n
            of Am., 5 F.4th at 77 (quoting Chevron, 467 U.S. at 843).

                 At Chevron Step One, the court “begin[s] with the
            language employed by Congress and the assumption that the
            ordinary meaning of that language accurately expresses the
            legislative purpose.” Engine Mfrs. Ass’n v. S. Coast Air Quality
            Mgmt. Dist., 541 U.S. 246, 252 (2004) (internal quotation
            marks omitted). Section 1853(b)(8) provides fishery management
            plans may “require that one or more observers be carried on
            board a vessel . . . for the purpose of collecting data necessary
            for the conservation and management of the fishery.” That text
            makes clear the Service may direct vessels to carry at-sea
            monitors but leaves unanswered whether the Service must pay
            for those monitors or may require industry to bear the costs of
            at-sea monitoring mandated by a fishery management plan.
            When Congress has not “directly spoken to the precise question
            at issue,” the agency may fill this gap with a reasonable
            interpretation of the statutory text. Chevron, 467 U.S. at 842.

                 The Service maintains that two additional features of the
            Act, when paired with Section 1853(b)(8), unambiguously
            establish authority to require industry-funded monitoring.
            First, Section 1853 contains two “necessary and appropriate”
            clauses that permit plans approved by the Service to “prescribe
            such other measures, requirements, or conditions and restrictions
            as are determined to be necessary and appropriate for the
            conservation and management of the fishery.” Id. § 1853(b)(14);
            see also id. § 1853(a)(1)(A) (mandating “measures . . . necessary
            and appropriate for the conservation and management of the
            fishery”). Second, the penalty provisions allow the Service to
            impose permit sanctions for failure to make “any payment
            required for observer services provided to or contracted by an
            owner or operator,” id. § 1858(g)(1)(D), and make unlawful
            various acts committed against “any data collector employed
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            by the [Service] or under contract to any person to carry out
            responsibilities under [the Act],” id. § 1857(1)(L).

                 Taken together, these provisions of the Act signal the
            Service may approve fishery management plans that mandate
            at-sea monitoring for a statutory purpose. Section 1853(b)(8)
            grants authority to require that vessels carry at-sea monitors.
            Sections 1853(a)(1)(A) and (b)(14) grant authority to
            implement measures “necessary and appropriate” — a
            “capacious[]” grant of power that “leaves agencies with
            flexibility,” Michigan v. EPA, 135 S. Ct. 2699, 2707 (2015) —
            to achieve the Act’s conservation and management goals. The
            penalties in Sections 1857 and 1858 further indicate that
            Congress anticipated industry’s use of private contractors. Still
            unresolved, however, is the question of whether the Service
            may require industry to bear the costs of at-sea monitoring
            mandated by a fishery management plan.

                 When an agency establishes regulatory requirements,
            regulated parties generally bear the costs of complying with
            them. In Michigan v. EPA, 135 S. Ct. 2699, 2711 (2015), the
            Supreme Court held that an agency implementing a policy
            under wide-ranging “necessary and appropriate” authority
            must consider the costs of compliance. That principle
            presupposes that a “necessary and appropriate” clause vests an
            agency with some authority to impose compliance costs. Here,
            the Act’s national standards for fishery management plans
            direct the Service to “minimize costs” of conservation and
            management measures, 16 U.S.C. § 1851(a)(7), and to
            “minimize adverse economic impacts” of such measures “on
            [fishing] communities,” id. § 1851(a)(8). Those statutory
            admonitions to reduce costs seem to presume that the Service
            may impose some costs, as “minimize” does not mean
            eliminate entirely. In addition, neither Section 1853(b)(8) nor
            any other provision of the Act imposes a funding-related
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            restriction on the Service’s authority to require monitoring in a
            plan. That also suggests the Act permits the Service to require
            industry-funded monitoring.

                 The inference that the Service may require fishing vessels
            to incur costs associated with meeting the 50-percent
            monitoring coverage target is not, however, wholly unambiguous.
            Nothing in the record definitively establishes whether at-sea
            monitors are the type of regulatory compliance cost that might
            fall on fishing vessels by default or whether Congress would
            have legislated with that assumption. Absent such an
            indication, the court cannot presume that Section 1853(b)(8),
            even paired with the Act’s “necessary and appropriate” and
            penalty provisions, unambiguously affords the Service power
            to mandate that vessels pay for monitors. See N.Y. Stock Exch.
            LLC v. SEC, 962 F.3d 541, 554 (D.C. Cir. 2020).

                 Appellants maintain that Sections 1821, 1853a(e), and
            1862, which create monitoring programs with some similarities
            to the Omnibus Amendment’s monitoring program, give rise
            by negative implication to the inference that the Act
            unambiguously deprives the Service of authority to create
            additional industry-funded monitoring requirements. This
            expressio unius reasoning, “when countervailed by a broad
            grant of authority contained within the same statutory
            scheme, . . . is a poor indicator of Congress’ intent.”
            Adirondack Med. Ctr. v. Sebelius, 740 F.3d 692, 697 (D.C. Cir.
            2014). Examination of each of the three monitoring programs
            further illustrates why appellants’ view is unfounded.

                 First, the limited access privilege program created in
            Section 1853a(e) authorizes a council to establish “a program
            of fees . . . that will cover the costs of management, data
            collection and analysis, and enforcement activities.” It does
            not list monitoring as a covered activity. See id. Although
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            monitoring might qualify as “data collection and analysis,” this
            provision does not speak directly to this point, nor does it say
            anything about who may fund observers. The canon that “the
            specific governs the general,” RadLAX Gateway Hotel, LLC v.
            Amalg. Bank, 566 U.S. 639, 645 (2012); see Genus Med. Techs.
            LLC v. FDA, 994 F.3d 631, 638 (D.C. Cir. 2021), is unhelpful
            to appellants in this context because there is no relevant
            “conflict” between statutory terms that do not address the same
            subject, Genus Med. Techs., 994 F.3d at 638–39. Section
            1853a(e) therefore does not suggest any limitation on the
            Service’s discretion to impose monitoring costs on industry
            under Section 1853(b)(8).

                  Second, the North Pacific Council monitoring program
            created by Section 1862, which “requires that observers be
            stationed on fishing vessels” and “establishes a system . . . of
            fees . . . to pay for the cost of implementing the plan,” 16
            U.S.C. § 1862(a)(1)–(2), is similarly distinguishable. These
            fees are to be “collected” by the Service, id. § 1862(b)(2), and
            deposited into a North Pacific Fishery Observer Fund
            established by the Act and “in the Treasury,” id. § 1862(d), for
            disbursement to cover the costs of the monitoring program, see
            id. § 1862(a), (e). This special fee program also does not suggest
            that the Service lacks authority to require industry-funded
            observers in all other fisheries. The fee program in Section 1862
            institutes a different funding mechanism from that of the
            Omnibus Amendment and Final Rule: under Section 1862,
            money collected from regulated parties passes through
            government coffers, while under the Omnibus Amendment and
            Final Rule, regulated vessel owners pay third-party monitors
            directly to supply services required for regulatory compliance.
            Congress’s specific authorization of a single fishery program
            funded by fees paid to the government does not unambiguously
            demonstrate that the Act prohibits the Service from implementing
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             a separate program in which industry pays the costs of compliance
             to service providers without any government pass-through.

                  Section 1821 creates a foreign fishing vessel monitoring
             program, which authorizes the Secretary to impose a
             “surcharge” to “cover all the costs of providing a United States
             observer” aboard foreign vessels. Id. § 1821(h)(4). Generally,
             observers on foreign vessels are funded through “surcharges [to
             owners] collected by the Secretary” and deposited in an
             earmarked U.S. government fund, id., a fee program roughly
             analogous to the North Pacific Council monitoring program. In
             the event of insufficient appropriations, however, Section 1821
             establishes a “supplementary observer program” by which
             “certified observers or their agents” are “paid by the owners
             and operators of foreign fishing vessels for observer services.”
             Id. § 1821(h)(6). This provision for industry-funded observers
             in the foreign-fishing section of the Act, does not show that
             Congress implicitly intended to preclude the Service from
             requiring any other industry-funded monitoring. See Util. Air
             Regul. Grp., 573 U.S. at 323–24. Its contingency plan for
             monitoring in the foreign-fishing context has no unambiguous
             consequences for the Service’s authority to implement
             industry-funded monitoring in other contexts. By providing for
             industry-funded observers as part of a contingency in the
             foreign-fishing provisions of the Act, it appears doubtful that
             Congress intended implicitly to preclude the Service from
             requiring industry-funded monitoring in all other
             circumstances. Further, the Act’s penalty provisions offset
             negative inferences that might be drawn from Section 1821. See
             16 U.S.C. §§ 1857(1)(L), 1858(g)(1)(D). Rather, these broad
             provisions indicate that Congress anticipated the use of
             privately retained contractors to comply with the Act’s
             requirements. And the penalties in a broadly applicable section
             of the Act appear to recognize the possibility of industry-
             contracted and funded observers beyond the foreign-vessel
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             context. If Congress had intended for penalties associated with
             industry-funded monitoring to apply only in the foreign fishing
             context, the court would expect that Congress in the penalty
             provisions would have specifically referenced foreign vessels
             or included a cross-reference to the foreign fishing provision.

                  Finally, appellants claim that, given the substantial costs
             of industry-funded monitoring to herring fishing companies,
             “Congress would not have delegated ‘a decision of such
             economic and political significance to an agency in so cryptic
             a fashion’” as reliance on “necessary and appropriate”
             authority. Appellants’ Br. 41 (quoting Brown & Williamson
             Tobacco Corp., 529 U.S. at 160). Indeed, an agency may not
             rely on a “necessary and appropriate” clause to claim implicitly
             delegated authority beyond its regulatory lane or inconsistent
             with statutory limitations or directives. See, e.g., Ala. Ass’n of
             Realtors v. HHS, 141 S. Ct. 2485, 2487–88 (2021); Michigan,
             135 S. Ct. at 2707–08; N.Y. Stock Exch., 962 F.3d at 554–55.
             The Service does not do so here because its interpretation falls
             within the boundaries set by the Act. Section 1853(b)(8)
             expressly envisions that monitoring programs will be created
             and, through its silence, leaves room for agency discretion as
             to the design of such programs. In addition, at-sea monitoring
             relates to the Service’s interest in fishery management and the
             Act contains no bar on industry-funded monitoring programs,
             instead permitting plans to “prescribe such other measures,
             requirements, or conditions and restrictions” as are “necessary
             and appropriate for the conservation and management of the
             fishery,” id. § 1853(b)(14); see id. § 1853(a)(1)(A). The
             Service’s understanding of Section 1853(b)(8) and the
             “necessary and appropriate” clauses as encompassing industry-
             funded monitoring thus does not exceed statutory limits.

                  Nonetheless, the text does not compel the Service’s
             interpretation of the Act as granting authority by omission to
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             require industry-funded monitoring. Courts “construe [a
             statute’s] silence as exactly that: silence.” EEOC v. Abercrombie
             & Fitch Stores, Inc., 135 S. Ct. 2028, 2033 (2015). Neither
             Section 1853(b)(8) nor any other provision of the Act explicitly
             allows the Service to pass on to industry the costs of monitoring
             requirements included in fishery management plans. Nor do
             the traditional tools of statutory interpretation provide another
             basis on which to conclude that the Act unambiguously
             supports the Service’s interpretation. Congress has thus
             provided no wholly unambiguous answer at Chevron Step One
             as to whether the Service may require industry-funded
             monitoring in the Omnibus Amendment and Final Rule.
             Although an agency’s interpretation need not be compelled by
             the text for it to prevail at Step One, here, where there may be
             some question as to Congress’s intent, particularly in view of
             appellants’ cost objection, it behooves the court to proceed to
             Step Two of the Chevron analysis.

                  Pursuant to Step Two, an agency’s interpretation can
             prevail if it is a “reasonable resolution of an ambiguity in a
             statute that the agency administers,” Michigan, 135 S. Ct. at
             2707, and “the agency has offered a reasoned explanation for
             why it chose that interpretation,” Cigar Ass’n of Am., 5 F.4th
             at 77 (internal quotation marks omitted). Under this deferential
             standard, the Service’s interpretation of the Act as authorizing
             additional industry-funded monitoring programs is reasonable.
             Section 1853(b)(8), paired with the Act’s “necessary and
             appropriate” clauses, demonstrates that the Act considers
             monitoring “necessary and appropriate” to further the Act’s
             conservation and management goals. That conclusion provides
             a reasonable basis for the Service to infer that the practical steps
             to implement a monitoring program, including the choice of
             funding mechanism and cost-shifting determinations, are
             likewise “necessary and appropriate” to implementation of the
             Act. See Final Rule, 85 Fed. Reg. at 7,422–23.
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                  In addition, the Final Rule provides a reasoned explanation
             for the Service’s interpretation. The Rule noted that Section
             1853(b)(8) authorizes the Service to require at-sea monitors
             “for the purpose of collecting data necessary for the
             conservation and management of the fishery. Id. at 7,422
             (quoting 16 U.S.C. § 1853(b)(8)). It further explained that
             industry-funded monitoring to reach the new 50-percent
             coverage target would best serve the Act’s conservation and
             management goals. In particular, increased monitoring would
             permit the Service “to assess the amount and type of catch, to
             more accurately monitor annual catch limits, and/or provide
             other information for management.” Id. at 7,423. The Rule
             also stated that industry-funded monitoring was consistent with
             other provisions of the Act that impose compliance costs on
             industry. Id. at 7,422. This explanation reasonably tied the
             industry-funded monitoring requirement to the Act’s purposes.
             The Service’s interpretation of the Act is therefore owed
             deference at Chevron Step Two.

                  Our dissenting colleague agrees that the Chevron
             framework governs this case but disagrees about how it applies,
             asserting that the court should reach Chevron Step Two only if
             “the statute is ambiguous” and “Congress either explicitly or
             implicitly delegated authority to cure that ambiguity.” Dis. Op.
             at 5 (internal quotation marks omitted); see id. at 5 n.16. The
             dissent suggests that “Congress’s silence on a given issue . . .
             [generally] indicates a lack of authority,” id. at 6, but Chevron
             instructs that judicial deference is appropriate “if the statute is
             silent or ambiguous with respect to the specific issue,” 467
             U.S. at 843 (emphasis added). The Supreme Court has
             affirmed its Chevron analysis, see, e.g., City of Arlington v.
             FCC, 569 U.S. 290, 296 (2013), and this court has
             reacknowledged its binding force, see, e.g., Sierra Club v. EPA,
             21 F.4th 815, 818–19 (D.C. Cir. 2021). The dissent’s reference
             to recent cases in which the Supreme Court has not applied the
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             framework, see Dis. Op. at 5 & n.6, does not affect the
             obligation of this court to “leav[e] to [the Supreme] Court the
             prerogative of overruling its own decisions,” Agri Processor
             Co. v. NLRB, 514 F.3d 1, 8 (D.C. Cir. 2008) (second alteration
             in original) (quoting Rodriguez de Quijas v. Shearson/Am.
             Express, Inc., 490 U.S. 477, 484 (1989)).

                  Not every statutory silence functions as an implicit
             delegation. See U.S. Telecom Ass’n v. FCC, 359 F.3d 554, 566
             (D.C. Cir. 2004). But Section 1853(b)(8)’s silence on the issue
             of cost of at-sea monitoring provides no basis for applying
             different standards of review here. Dis. Op. at 8–9. Under
             Chevron, such silence in the context of a comprehensive
             statutory fishery management program for the Service to
             implement, 16 U.S.C. §§ 1801(a)(6), 1854, 1855(d), is a lawful
             delegation, Chevron, 467 U.S. at 842–44. Furthermore, the
             Supreme Court has instructed that a broad “necessary and
             appropriate” provision, as appears in the Act, “leaves agencies
             with flexibility” to act in furtherance of statutory goals,
             Michigan, 135 S. Ct. at 2707, and here the Service pointed to
             the Act’s conservation and management goals. Speculation
             that the Service’s interpretation of its authority may lead to
             exorbitant regulatory costs to industry, see Dis. Op. at 11,
             overlooks Chevron Step Two’s reasonableness limitation. Nor,
             in these circumstances, is Congress’s provision for industry-
             funded monitoring in three unique situations properly
             understood to eliminate the Service’s authority to create
             industry-funded monitoring programs in any other situation,
             see id. at 12–14. Under the well-established Chevron Step Two
             framework, the Service’s interpretation of the Act to allow
             industry-funded monitoring was reasonable.
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                                            B.

                  Appellants’ alternative challenge emphasizes that this
             court reviews the grant of summary judgment de novo and the
             Omnibus Amendment and Final Rule were enacted and
             adopted pursuant to the Administrative Procedure Act
             (“APA”). Under the APA’s deferential standard, the court
             upholds agency action unless it is “arbitrary, capricious, an
             abuse of discretion, or otherwise not in accordance with law.”
             5 U.S.C. § 706(2)(A); see Cigar Ass’n of Am, 5 F.4th at 74.
             “An agency is owed no deference,” however, “if it has no
             delegated authority from Congress to act.” N.Y. Stock Exch.,
             962 F.3d at 553. The court “determines whether the resulting
             regulation exceeds the agency’s statutory authority” before it
             determines whether the regulation “is arbitrary or capricious,”
             id. at 546 (citing Sullivan v. Zebley, 493 U.S. 521, 528 (1990)),
             as is addressed in subsection A.

                  Appellants urge that the Omnibus Amendment and Final
             Rule are arbitrary and capricious, even if statutorily authorized,
             “because they do not adequately account for the economic
             cost” of industry-funded monitoring for participants in the
             Atlantic herring fishery. Appellants’ Br. 55. To survive
             arbitrary and capricious review, an agency “may not ‘entirely
             fai[l] to consider an important aspect of the problem’ when
             deciding whether regulation is appropriate.” Michigan, 135 S.
             Ct. at 2707 (alteration in original) (quoting Motor Vehicle Mfrs.
             Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S.
             29, 43 (1983)). Cost is such a factor in view of the Act’s
             directive that fishery management plans minimize adverse
             effects and costs to the fishing community wherever possible.
             See 16 U.S.C. § 1851(a)(7), (8).

                 The record shows the Service took note of evidence that
             the Atlantic herring industry-funded monitoring program costs
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                                            16
             impacted vessels $710 per day and could reduce annual returns
             by approximately 20 percent. Final Rule, 85 Fed. Reg. at
             7,418. It evaluated the economic impacts of the program in
             detail, see id. at 7,417–22, 7,428–29, responded to comments
             raising cost-related concerns, see id. at 7,424–26, and described
             its efforts to minimize economic impacts on herring fishery
             participants, see id. at 7,429–30. For example, vessel owners
             may request waivers of industry-funded monitoring coverage
             on trips intending to land less than 50 metric tons of herring,
             and midwater trawl vessels may comply with the requirement
             through electronic monitoring instead of retaining a private
             monitor. Id. at 7,430. Further, in the Rule, the Service
             explained its choice of a 50-percent coverage target as
             “balanc[ing] the benefit of additional monitoring with the costs
             associated with additional monitoring,” id. at 7,425, and
             adopted exemptions designed to address adverse effects on
             smaller vessels, see id. at 7,419–20, 7,425, 7,430. So, the
             Service’s decision to proceed with an industry-funded
             monitoring requirement after extensive deliberations on the
             question of cost was not arbitrary or capricious.

                                            C.

                  Finally, appellants contend that promulgation of the
             Omnibus Amendment and the Final Rule was procedurally
             improper. Specifically, appellants challenge the Service’s
             failure to comply with the Act’s timeline for review of the
             Amendment, see 16 U.S.C. §§ 1853, 1854, and its use of
             overlapping comment periods for the Amendment and the
             Rule. Neither contention is persuasive.

                  That the Service did not follow the Act’s timeline provides
             no basis for relief here. The Service published the notice of
             availability for the Omnibus Amendment three days after the
             statutory deadline, see 16 U.S.C. § 1854(a)(1)(A)–(B), (5), and
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                                           17
             adopted the Final Rule more than a year after its comment
             period ended, see Final Rule, 85 Fed. Reg. at 7,414, contrary to
             the requirement that implementing regulations be promulgated
             within thirty days of the close of their comment period, see 16
             U.S.C. § 1854(b)(3). Procedural errors that are “technical” in
             nature and “therefore harmless” are “not grounds for vacating
             or remanding.” Int’l Bhd. of Teamsters v. U.S. Dep’t of
             Transp., 724 F.3d 206, 217 (D.C. Cir. 2013); see Nevada v.
             Dep’t of Energy, 457 F.3d 78, 90 (D.C. Cir. 2006). Appellants
             do not identify any harm or prejudice resulting from the alleged
             delay. In addition, “if a statute does not specify a consequence
             for noncompliance with statutory timing provisions, the federal
             courts will not in the ordinary course impose their own coercive
             sanction.” Barnhart v. Peabody Coal Co., 537 U.S. 149, 159
             (2003) (internal quotation marks omitted); see Transp. Div. of
             Int’l Ass’n of Sheet Metal, Air, Rail & Transp. Workers v. Fed.
             R.R. Admin., 10 F.4th 869, 873–74 (D.C. Cir. 2021). The Act
             does not penalize missed deadlines, and appellants do not point
             to any basis for this court sua sponte to vacate the Final Rule.

                  Appellants’ suggestion that the Service “prejudged the
             legality” of the Omnibus Amendment through its use of
             overlapping comment periods with the Final Rule fares no
             better. The Act requires that notice and comment on a plan
             amendment and its accompanying regulations occur in tandem.
             See 16 U.S.C. §§ 1853(c)(1), 1854(a)(1), (5), 1854(b)(1)(A).
             Even if the statutory text did not control, the Service may
             initiate implementing regulations of its own accord, subject to
             APA notice-and-comment requirements that it “publish [a]
             notice of proposed rulemaking in the Federal Register and . . .
             accept and consider public comments on its proposal.”
             Mendoza v. Perez, 754 F.3d 1002, 1020 (D.C. Cir. 2014)
             (citing 5 U.S.C. § 553). Here, the Service set comment periods
             of sixty and forty-five days, respectively, for the Omnibus
             Amendment and the Final Rule and stated that it would
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                                            18
             consider comments received on either document in its decision
             to approve the Amendment. NPRM, 83 Fed. Reg. at 55,667.
             The Act does not require publication of approval of plan
             amendments. See 16 U.S.C. § 1854(a)(3). So, the Service
             could address public comments on the Omnibus Amendment
             upon promulgation of the Final Rule, see 85 Fed. Reg. at 7,422–
             27. In view of Congress’s expectation that the Service would
             consider comments on plan amendments and implementing
             regulations at the same time, see 16 U.S.C. §§ 1853(c)(1),
             1854(a)(1), (5), 1854(b)(1)(A), appellants fail to show a lack of
             fair notice and a meaningful opportunity to comment as the
             APA requires. See, e.g., Conn. Light & Power Co. v. Nuclear
             Regul. Comm’n, 673 F.2d 525, 528 (D.C. Cir. 1982).

                 Accordingly, the court affirms the district court’s grant of
             summary judgment to the Service and denial of summary
             judgment to appellants.
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             WALKER, Circuit Judge, dissenting:

                 Did Congress authorize the National Marine Fisheries
             Service to make herring fishermen in the Atlantic pay the
             wages of federal monitors who inspect them at sea?

                  Congress unambiguously did not.

                                               I

                  A fishery is both a group of fish and the fishing for that
             group.1 The Magnuson-Stevens Act governs all fisheries in
             federal waters.2 Its goal is to keep the fisheries healthy so that
             Americans can enjoy the economic, recreational, and
             nutritional benefits of a marine ecosystem.3

                  In pursuit of that goal, the Act allows the National Marine
             Fisheries Service to approve fishery management plans, which
             set rules for the fisheries they govern.4 Those plans are
             developed by regional councils and include provisions
             specifying things like the number of fish that will be harvested
             in the fishery, the type of fishing gear to be used, and the
             reporting methods required.5 When a plan needs updating, the

             1
               16 U.S.C. § 1802(13).
             2
               Id. § 1801 et seq.
             3
               Id. § 1801(b).
             4
               Id. §§ 1853, 1854(a). The Fisheries Service’s authority is delegated
             from the Secretary of Commerce. Although the Appellees also
             include the Secretary of Commerce, the Department of Commerce,
             and officials in the National Oceanic and Atmospheric
             Administration, I refer to the appellees as the “Fisheries Service”
             because they are the most direct regulators in this matter.
             5
                Id. § 1853(a)(4)-(5), (a)(11), (b)(4). The regional councils were
             established by the Magnuson-Stevens Act and are made up of
             representatives from various interested sectors (commercial,
             recreational, governmental, and academic). Id. § 1852.
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                                              2
             relevant council submits a proposed amendment to the
             Fisheries Service for review.6 The council may also propose
             corresponding implementing regulations.7 Then the Fisheries
             Service must publish those proposals, take comments, and
             approve or disapprove of the proposals.8 If it approves, it will
             promulgate them as final regulations.9

                  That’s what happened here. The New England Council
             amended the Atlantic herring fishery management plan to
             require that fishermen allow at-sea monitors on many of their
             fishing trips, and the Fisheries Service approved its
             amendment.10 The at-sea monitors are third-party inspectors
             who go aboard fishing vessels to keep an eye on operations.
             They track things like how many of which fish are being caught
             with what gear. No one disputes that the Magnuson-Stevens
             Act allows the Fisheries Service to impose this monitoring
             requirement.

                  But providing a monitor for a days-long fishing voyage
             can get expensive, and the Fisheries Service has had trouble
             affording its preferred monitoring programs with just its
             congressionally appropriated funds.11 Add to that a further

             6
               Id. § 1852(h)(1).
             7
               Id. § 1853(c).
             8
               Id. § 1854(a).
             9
               Id. § 1854(b)(3).
             10
                Magnuson-Stevens Fishery Conservation and Management Act
             Provisions; Fisheries of the Northeastern United States; Industry
             Funded Monitoring, 85 Fed. Reg. 7417 (Feb. 7, 2020).
             11
                Fisheries of the Northeastern United States; Atlantic Herring
             Fishery; Amendment 5, 79 Fed. Reg. 8,786, 8,792-93 (Feb. 13, 2014)
             (The Fisheries Service has been working since at least 2013 to find a
             legal way to use industry funding to increase observer coverage as
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                                              3
             problem for the Fisheries Service: Congress generally prohibits
             an agency from collecting fees and keeping the money from
             those fees for the agency’s own purposes.12 Instead, absent
             express statutory authority to keep and spend that money,
             agencies can only spend as much money as Congress
             appropriates.13

                  Here, the Fisheries Service attempted a workaround. It
             decided to make fishing companies, like Loper Bright
             Enterprises, hire and pay for their own at-sea monitors. The
             Fisheries Service estimates that for the Atlantic Herring
             fishery, those monitors will cost more than $700 per day and
             could reduce financial returns to the fishermen by twenty
             percent.

                 The fishermen challenged the amendment and the
             implementing regulations in district court and now appeal the

             “[b]udget uncertainties prevent [the Fisheries Service] from being
             able to commit to paying for increased observer coverage in the
             herring fishery.”); see also Fisheries of the Northeastern United
             States; Atlantic Mackerel, Squid, and Butterfish Fisheries;
             Amendment 14, 79 Fed. Reg. 10,029, 10,038 (Feb. 24, 2014)
             (Without industry funding, “increased observer coverage levels
             would amount to an unfunded mandate, meaning regulations would
             obligate [the Fisheries Service] to implement something it cannot
             pay for.”).
             12
                31 U.S.C. § 3302(b) (With one unrelated exception, “an official or
             agent of the Government receiving money for the Government from
             any source shall deposit the money in the Treasury as soon as
             practicable without deduction for any charge or claim.”).
             13
                Id. § 1341(a)(1) (“An officer or employee of the United States
             Government or of the District of Columbia government may not—
             (A) make or authorize an expenditure or obligation exceeding an
             amount available in an appropriation or fund for the expenditure or
             obligation”).
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                                               4
             court’s decision granting summary judgment for the Fisheries
             Service.14

                  I would reverse the judgment of the district court because
             the Magnuson-Stevens Act unambiguously does not authorize
             the Fisheries Service to force the fishermen to pay the wages
             of federally mandated monitors.

                                               II

                 Agencies are creatures of Congress, so they have no
             authority apart from what Congress bestows.15

                  The Fisheries Service points to the Magnuson-Stevens Act
             as its source of authority for requiring fishermen to pay for at-
             sea monitors. We review the Fisheries Service’s interpretation




             14
                Loper Bright Enterprises, LLC v. Raimondo, 544 F. Supp. 3d 82,
             127 (D.D.C. 2021).
             15
                Louisiana Public Service Commission v. FCC, 476 U.S. 355, 374
             (1986) (“an agency literally has no power to act . . . unless and until
             Congress confers power upon it”); Motion Picture Association of
             America, Inc. v. FCC, 309 F.3d 796, 801 (D.C. Cir. 2002) (“An
             agency may not promulgate even reasonable regulations that claim a
             force of law without delegated authority from Congress.”); Railway
             Labor Executives’ Association v. National Mediation Board, 29 F.3d
             655, 670 (D.C. Cir.), amended, 38 F.3d 1224 (D.C. Cir. 1994)
             (“Agencies owe their capacity to act to the delegation of authority,
             either express or implied, from the legislature.”); Bowen v.
             Georgetown University Hospital, 488 U.S. 204, 208 (1988) (“It is
             axiomatic that an administrative agency’s power to promulgate
             legislative regulations is limited to the authority delegated by
             Congress.”).
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                                                 5
             of that statute under the two-step Chevron framework.16 First,
             we ask “whether Congress has directly spoken to the precise
             question at issue” or “left a gap for the agency to fill.”17 At that
             stage, in searching for direction from Congress, we empty our
             interpretive toolkit.18 And if it’s clear that the text does not
             authorize the agency’s action, the analysis ends, and the agency
             loses.19 Only if the statute is ambiguous, and only if “Congress
             either explicitly or implicitly delegated authority to cure that
             ambiguity,” do we proceed to Chevron’s second step and defer
             to the agency’s reasonable interpretation of the ambiguity.20


             16
                Chevron U.S.A., Inc. v. NRDC, Inc., 467 U.S. 837, 842-44 (1984).
             But see Becerra v. Empire Health Foundation, 142 S. Ct. 2354
             (2022) (not mentioning Chevron); National Federation of
             Independent Business v. OSHA, 142 S. Ct. 661 (2022) (same); BNSF
             Railway Co. v. Loos, 139 S. Ct. 893 (2019) (same); Pereira v.
             Sessions, 138 S. Ct. 2105, 2121 (2018) (Kennedy, J., concurring)
             (“Given the concerns raised by some Members of this Court, it seems
             necessary and appropriate to reconsider, in an appropriate case, the
             premises that underlie Chevron and how courts have implemented
             that decision.” (citations omitted)).
             17
                Chevron, 467 U.S. at 842-43.
             18
                Arizona Public Service Co. v. EPA, 211 F.3d 1280, 1287 (D.C. Cir.
             2000).
             19
                Chevron, 467 U.S. at 842-43; see also Virginia Uranium, Inc. v.
             Warren, 139 S. Ct. 1894, 1900 (2019) (plurality opinion) (“in any
             field of statutory interpretation, it is our duty to respect not only what
             Congress wrote but, as importantly, what it didn’t write”).
             20
                 Hearth, Patio & Barbecue Association v. United States
             Department of Energy, 706 F.3d 499, 504 (D.C. Cir. 2013) (“The
             ambiguity must be such as to make it appear that Congress either
             explicitly or implicitly delegated authority to cure that ambiguity.
             Mere ambiguity in a statute is not evidence of congressional
             delegation of authority.” (quoting American Bar Association v.
             Federal Trade Commission, 430 F.3d 457, 469 (D.C. Cir. 2005))).
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                                               6
                  Congress’s silence on a given issue does not automatically
             create such ambiguity or give an agency carte blanche to speak
             in Congress’s place.21 In fact, all else equal, silence indicates
             a lack of authority.22

                 That means that when agency action is challenged, it is not
             the challenger’s job to show that Congress has specifically
             prohibited the challenged action.23 Holding challengers to that
             burden would be “entirely untenable.”24 Instead, an agency
             must positively demonstrate where Congress explicitly or
             implicitly empowered it to act.

             21
                United States Telecom Association v. FCC, 359 F.3d 554, 566
             (D.C. Cir. 2004) (“the failure of Congress to use ‘Thou Shalt Not’
             language doesn’t create a statutory ambiguity of the sort that
             triggers Chevron deference”); American Petroleum Institute v. EPA,
             52 F.3d 1113, 1120 (D.C. Cir. 1995) (“we will not presume a
             delegation of power based solely on the fact that there is not an
             express withholding of such power”).
             22
                 United States Telecom Association, 359 F.3d at 566 (“The
             statutory ‘silence’ simply leaves that lack of authority untouched.”).
             23
                Bais Yaakov of Spring Valley v. FCC, 852 F.3d 1078, 1082 (D.C.
             Cir. 2017) (“The [agency] and the dissent seem to suggest that the
             agency may take an action . . . so long as Congress has not prohibited
             the agency action in question. That theory has it backwards as a
             matter of basic separation of powers and administrative law. The
             [agency] may only take action that Congress has authorized.”);
             Railway Labor Executives’ Association, 29 F.3d at 671 (“Were
             courts to presume a delegation of power absent an express
             withholding of such power, agencies would enjoy virtually limitless
             hegemony, a result plainly out of keeping with Chevron and quite
             likely with the Constitution as well.”).
             24
                Motion Picture Association, 309 F.3d at 805-06; see also Gulf
             Fishermens Association v. National Marine Fisheries Service, 968
             F.3d 454, 456 (5th Cir. 2020), as revised (Aug. 4, 2020) (“Congress
             does not delegate authority merely by not withholding it”).
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                                               7

                                              III

                 Both sides agree that nowhere in the Magnuson-Stevens
             Act does Congress explicitly empower the Fisheries Service to
             require the Atlantic herring fishermen to fund an at-sea
             monitoring program. So to prevail, the Fisheries Service must
             point to some implicit delegation of that authority.

                 It has failed to do so. The Act unambiguously does not
             authorize the Fisheries Service to require these fishermen to
             pay the wages of at-sea monitors.25

                                              A

                 The Fisheries Service first relies on 16 U.S.C.
             § 1853(b)(8), which provides that fishery management plans
             may:

                  require that one or more observers be carried on
                  board a vessel of the United States engaged in fishing
                  for species that are subject to the plan, for the purpose

             25
                But see Relentless Inc. v. United States Department of Commerce,
             561 F. Supp. 3d 226, 238 (D.R.I. 2021) (Another group of herring
             fishermen challenged the same industry-funding provision, and
             citing our district court, the District of Rhode Island found that the
             Fisheries Service “reasonably interpreted” the Magnuson-Stevens
             Act “to authorize” industry-funded monitors in the Atlantic herring
             fishery.); Goethel v. Pritzker, No. 15-CV-497-JL, 2016 WL
             4076831, at *6 (D.N.H. July 29, 2016), aff'd sub nom. Goethel v.
             United States Department of Commerce., 854 F.3d 106, 108 (1st Cir.
             2017) (The district court found that the Magnuson-Stevens Act
             authorized a similar industry-funding scheme in a different fishery,
             but the First Circuit affirmed on timeliness grounds, expressly
             declining to decide whether industry funding violated the Act.).
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                                               8
                    of collecting data necessary for the conservation and
                    management of the fishery.26

             That provision allows the agency to require that fishermen give
             at-sea monitors a place on their vessels — the fishermen must
             let the monitor “be carried.”

                  The Fisheries Service argues that such authority implicitly
             includes the authority to make the fishermen pay the monitors’
             wages because the wages are simply an incidental cost of
             complying with the duty to allow monitors onboard. In the
             agency’s eyes, it’s no different than, say, the cost of buying
             statutorily-required fishing gear.

                    But that analogy doesn’t hold up.

                  First, the Act’s language meaningfully differs in its
             treatment of gear and observers. Section 1853(b)(4) allows
             plans to “require the use” of certain fishing gear. If the Act
             similarly allowed plans to require the use of an at-sea monitor,
             perhaps the Fisheries Service could argue that the cost of
             procuring the monitor was incidental to that command. But
             § 1853(b)(8) doesn’t allow plans to require that fishermen use
             observers. It only allows them to require that fishermen let
             observers “be carried on board.”

                 A cost incidental to carrying an observer might include the
             additional fuel costs of a marginally heavier boat or the
             opportunity cost of giving to the monitor a bunk that would
             otherwise be occupied by a working fisherman. Those are
             costs that necessarily follow when a fisherman lets a monitor
             on his boat. By contrast, there is no inherent, or even intuitive,


             26
                  16 U.S.C. § 1853(b)(8) (emphasis added).
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                                             9
             connection between paying a monitor’s wage and providing
             him passage.

                 Second, inspection requirements and gear requirements
             are different classes of impositions on regulated parties, and
             they carry different expectations.27 Regulatory mandates, such
             as gear requirements, often carry compliance costs. But the
             Fisheries Service has identified no other context in which an
             agency, without express direction from Congress, requires an
             industry to fund its inspection regime.

                   Even if the Fisheries Service had found a few outliers, it is
             not usual to require a regulated party to pay the wages of its
             monitor when the statute is silent. Nor is it expected. In short,
             it is not the type of thing that goes without saying. And here,
             Congress didn’t say it.28

                                             B

                 The Fisheries Service next asks us to find its authority in
             § 1853’s “necessary and appropriate” clauses.29 The first such
             clause, § 1853(a)(1)(A), says that fishery management plans:

                  shall contain the conservation and management
                  measures, applicable to foreign fishing and fishing by
                  vessels of the United States, which are necessary

             27
                Those expectations, of course, inform our interpretation of how
             “ordinary people understand the rules that govern them.” Niz-
             Chavez v. Garland, 141 S. Ct. 1474, 1485 (2021).
             28
                See Mozilla Corp. v. FCC, 940 F.3d 1, 83 (D.C. Cir. 2019) (“No
             matter how desirous of protecting their policy judgments, agency
             officials cannot invest themselves with power that Congress has not
             conferred.” (citations omitted)).
             29
                16 U.S.C. § 1853(a)(1)(A), (b)(14).
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                                              10
                  and appropriate for the conservation and
                  management of the fishery, to prevent overfishing and
                  rebuild overfished stocks, and to protect, restore, and
                  promote the long-term health and stability of the
                  fishery.30

             And the second such clause, § 1853(b)(14), similarly says that
             fishery management plans:

                  may prescribe such other measures, requirements,
                  or conditions and restrictions as are determined to
                  be necessary and appropriate for the conservation
                  and management of the fishery.31

                  The Fisheries Service argues that because the monitors’
             data collection is important and because the Fisheries Service
             can’t afford it, it is necessary and appropriate to make the
             fishermen fund it.

                  For three reasons, I disagree.

                 First, context tells us that the Fisheries Service’s capacious
             reading is wrong.         Section 1853(a) says that fishery
             management plans must, for example, describe the fishery,
             specify a reporting methodology, and identify essential fish
             habitats.32 And § 1853(b) says that fishery management plans
             may, for example, designate protected coral zones, limit the
             type and amount of fish to be caught, and assess the effect of
             plan measures on certain fish stocks.33 Those and the other
             measures surrounding the “necessary and appropriate”
             30
                Id. § 1853(a)(1)(A) (emphases added).
             31
                Id. § 1853(b)(14) (emphases added).
             32
                Id. § 1853(a)(2), (a)(11), (a)(7).
             33
                Id. § 1853(b)(2)(B), (b)(3)(A), (b)(9).
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                                              11
             provisions “inform[] the grant of authority by illustrating the
             kinds of measures that could be necessary” or appropriate.34
             And none of the measures in those sections look anything like
             the funding scheme that the Fisheries Service contemplates
             here.

                  Second, the logic of the Fisheries Service’s argument
             could lead to strange results.35 Could the agency require the
             fishermen to drive regulators to their government offices if gas
             gets too expensive? Having the agency officials at work may
             be “appropriate” for “management of the fishery.” Yet I doubt
             that Congress meant to allow for free fisherman chauffeurs.

                  Or what if Congress were to entirely defund the
             compliance components of the Fisheries Service — could the
             agency continue to operate by requiring the industry to fund a
             legion of independent contractors to replace the federal
             employees? That generous interpretation of “necessary and


             34
                Alabama Association of Realtors v. Department of Health &
             Human Services, 141 S. Ct. 2485, 2488 (2021); see also Washington
             State Department of Social & Health Services v. Guardianship
             Estate of Keffeler, 537 U.S. 371, 384 (2003) (“under the established
             interpretative canons of noscitur a sociis and ejusdem generis, where
             general words follow specific words in a statutory enumeration, the
             general words are construed to embrace only objects similar in nature
             to those objects enumerated by the preceding specific words”
             (cleaned up)); see also NASDAQ Stock Market, LLC v. SEC, 961
             F.3d 421, 428 (D.C. Cir. 2020) (applying the canon to reject an
             agency interpretation within the Chevron framework).
             35
                Merck & Co., Inc., v. United States Department of Health &
             Human Services, 962 F.3d 531, 541 (D.C. Cir. 2020) (“the breadth
             of the Secretary’s asserted authority is measured not only by the
             specific application at issue, but also by the implications of the
             authority claimed”).
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                                               12
             appropriate” could undermine Congress’s power of the purse.36
             So although the words “necessary and appropriate” may be
             broad, they cannot be as limitless as the Fisheries Service
             suggests.37

                  Third, if Congress had wanted to allow industry funding
             of at-sea monitors in the Atlantic herring fishery, it could have
             said so. But it instead chose to expressly provide for it in only
             certain other contexts.38 The existence of specific provisions

             36
                See, e.g., John Holland & Laura Allen, An Analysis of Factors
             Responsible for the Decline of the U.S. Horse Industry: Why Horse
             Slaughter Is Not the Solution, 5 Kentucky Journal of Equine,
             Agriculture, and Natural Resources Law 225, 225-27 (2013)
             (Congress used its funding power in its effort to end commercial
             horse slaughter by defunding the requisite ante-mortem
             inspections.).
             37
                See Alabama Association of Realtors, 141 S. Ct. at 2489 (“It is
             hard to see what measures this interpretation would place outside the
             CDC’s reach, and the Government has identified no limit . . . beyond
             the requirement that the CDC deem a measure necessary.” (cleaned
             up)); Mozilla Corp., 940 F.3d at 75 (“even the allowance of wide
             latitude in the exercise of delegated powers is not the equivalent of
             untrammeled freedom to regulate activities over which the statute
             fails to confer, or explicitly denies, Commission authority” (cleaned
             up)).
             38
                16 U.S.C. § 1862(a) (North Pacific fishery), § 1821(h)(4) (foreign
             fishing), § 1853a(e)(2) (limited access privilege programs). A
             limited access privilege program is one in which an entity is
             permitted to catch a specified portion of the total allowable catch for
             all the fishermen per fishing season. Although the fee provision for
             limited access privilege programs does not itself mention observers,
             it nevertheless covers them. Section 1853a(c)(1)(H) instructs that a
             limited access privilege program shall “include an effective system
             for enforcement, monitoring, and management of the program,
             including the use of observers,” and subsection (e) instructs that
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                                                13
             for industry funding elsewhere — for only certain North
             Pacific fisheries, foreign fishing, and limited access privilege
             programs — suggests that the Fisheries Service can’t turn to a
             catchall “necessary and appropriate” prerogative to implicitly
             authorize industry funding in the Atlantic herring fishery.39

                  Take for example the provision governing the North
             Pacific fisheries. The statute says that the relevant council
             may, in certain North Pacific fisheries, “require[] that observers
             be stationed on fishing vessels” and “establish[] a system . . .
             of fees . . . to pay for the cost of implementing the plan.”40

                  That provision and the “necessary and appropriate”
             provisions were enacted at the same time.41 It is hard to believe
             that, when Congress decided to explicitly allow industry-
             funding for observers in one way (fees) in one place (the North
             Pacific), it also decided to silently allow all fisheries to fund
             observers in any other way they choose.42 The plainer reading


             “fees paid by limited access privilege holders . . . will cover the costs
             of management, data collection and analysis, and enforcement
             activities.”
             39
                Sebelius v. Cloer, 569 U.S. 369, 378 (2013) (“We have long held
             that where Congress includes particular language in one section of a
             statute but omits it in another section of the same Act, it is generally
             presumed that Congress acts intentionally and purposely in the
             disparate inclusion or exclusion.” (cleaned up)).
             40
                16 U.S.C. § 1862(a).
             41
                Fishery Conservation Amendments of 1990, Pub. L. No. 101-627,
             § 109(b)(2), 104 Stat. 4436, 4448 (codified at 16 U.S.C.
             § 1853(b)(8)); id. § 118(a), 104 Stat. 4457 (codified at 16 U.S.C.
             § 1862).
             42
                Gross v. FBL Financial Services, Inc, 557 U.S. 167, 175 (2009)
             (“negative implications raised by disparate provisions are strongest
             where the provisions were considered simultaneously” (cleaned up)).
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                                               14
             of the text is that Congress’s authorization for industry funding
             was limited to what it expressly authorized.43

                  In its briefing, the Fisheries Service tried to explain away
             the existence of this specific industry-funding provision by
             arguing that Congress merely wanted to “mandate” a certain
             solution in the North Pacific.44 But that’s not what Congress
             did. The language of the fee provision in the North Pacific is
             discretionary, not mandatory.45

                  The Fisheries Service also tries to draw a distinction
             between (1) making fishermen pay for monitors through a
             “fee” program like the program used in the North
             Pacific — where the money goes to the government, and the
             government then uses that money to pay the monitors’
             wages — and (2) making the fishermen pay the monitors
             directly, as here, without the government as a middleman.46

             43
                See NASDAQ Stock Market LLC v. SEC, No. 21-1167, 2022 WL
             2431638, at *6 (D.C. Cir July 5, 2022) (Although our Circuit has, at
             times, been skeptical of the expressio unius canon, when “a grant of
             authority . . . reasonably impl[ies] the preclusion of alternatives, the
             canon is a useful aide.” (cleaned up)).
             44
                Government Brief 44 (“In this situation, ‘the contrast between
             Congress’s mandate in one context with its silence in another
             suggests not a prohibition but simply a decision not to mandate any
             solution in the second context, i.e., to leave the question to agency
             discretion.’” (quoting Cheney Railroad Co. v Interstate Commerce
             Commission, 902 F.2d 66, 69 (D.C. Cir. 1990))).
             45
                 16 U.S.C. § 1862(a)(2) (“The North Pacific council may . . .
             require[] that observers be stationed on fishing vessels” and
             “establish[] a system . . . of fees . . . to pay for the cost of
             implementing the plan.” (emphasis added)).
             46
                The Fisheries Service is not eager to highlight that the North
             Pacific and limited-access schemes are not at all analogous to the
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                                               15
             But if the Fisheries Service is correct that the two schemes
             aren’t analogous, that shows the novelty of the Fisheries
             Service’s scheme for the Atlantic herring fishery — a novelty
             that cuts even more against the Fisheries Service’s reliance on
             an authority either implied or provided by the catch-all
             “necessary and appropriate” clauses. And on the other hand, if
             the two schemes are analogous, that suggests that Congress
             made a deliberate choice when it expressly approved
             fishermen-funded monitoring only for the North Pacific,
             foreign fishing, and limited access privilege programs — and
             not here.47

             scheme at issue here in at least one respect: their cost. In the North
             Pacific, if fees are set as a fixed percentage, they may not exceed two
             percent of the value of what the ship brings in on a trip. 16 U.S.C.
             § 1862(b)(2)(E). And in the context of limited access privilege
             programs, the cap is three percent. Id. § 1854(d)(2)(B). But here,
             the required payments to at-sea monitors could reduce the
             fishermen’s financial returns by twenty percent.
             47
                To the extent there is a meaningful difference between paying fees
             to the government and paying observers directly, the Magnuson-
             Stevens Act already, explicitly, contemplates both. The Act creates
             more traditional fee programs in the North Pacific, limited access
             privilege programs, and foreign fishing generally. But when the
             Fisheries Service has “insufficient appropriations” to provide full
             observer coverage for foreign fishing, the Act calls for the
             implementation of a supplementary observer program under which
             “certified observers” are “paid by the owners and operators of
             foreign fishing vessels for observer services.”              16 U.S.C.
             § 1821(h)(6)(C). So we know that Congress is (1) aware of the
             possibility that appropriations are sometimes insufficient to cover
             observer programs and (2) capable of creating industry-funding
             schemes to resolve that dilemma. And the Fisheries Service itself
             acknowledges both of those points in a document currently posted on
             its website regarding limited access privilege programs. United
             States Department of Commerce, National Oceanic and Atmospheric
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                                                16
                                            *   *    *

                 Fishing is a hard way to earn a living.48 And Congress can
             make profitable fishing even harder by forcing fishermen to
             spend a fifth of their revenue on the wages of federal monitors
             embedded by regulation onto their ships.

                  But until Congress does that, the Fisheries Service cannot.

                  I respectfully dissent.

             Administration & National Marine Fisheries Service, The Design
             and Use of Limited Access Privilege Programs 3 (Lee G. Anderson
             &          Mark         C.         Holliday        eds.,        2007),
             https://www.fisheries.noaa.gov/resource/document/design-and-use-
             limited-access-privilege-programs (last updated June 13, 2019) (“In
             times of constant or shrinking federal budgets, obtaining the funds to
             pay for new management plans is a real concern. Congress implicitly
             took this into consideration by mandating a cost recovery program
             for LAP programs. . . . Funds to cover the additional costs of the
             LAP program will have to come from the current
             appropriations. This means that there will have to be cuts
             elsewhere. . . . The [councils’] decisions should ensure that the costs
             of implementation and operation do not exceed the appropriated and
             cost-recovered funds available. Regardless of whether it is a LAP
             program, the alternative is the potential disapproval of a [fishery
             management plan] (or part of it) where funds are insufficient to carry
             out a management choice.” (emphasis added)).
             48
                Cf. Ernest Hemingway, The Old Man and the Sea (1952); Herman
             Melville, Moby Dick (1851); The Perfect Storm (Warner Bros.
             Pictures 2000); Billy Joel, The Downeaster “Alexa” (1990); The
             Deadliest Catch (Discovery Channel 2005-present); Letter from
             Vincent Van Gogh to Theo Van Gogh (on or about May 16,
             1882), https://vangoghletters.org/vg/letters/let228/letter.html (“The
             fishermen know that the sea is dangerous and the storm fearsome,
             but could never see that the dangers were a reason to continue
             strolling on the beach.” (emphasis omitted)).
